 Case 4:20-cv-00957-SDJ         Document 772 Filed 01/14/25             Page 1 of 5 PageID #:
                                         54865



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,                     §
                                                 §
        Plaintiffs,                              §
 v.                                              §        Civil Action No. 4:20-cv-00957-SDJ
                                                 §
 GOOGLE LLC,                                     §
                                                 §
        Defendant.                               §


              DEFENDANT’S NOTICE OF SUPPLEMENTAL AUTHORITY

       Google moved for summary judgment on Plaintiffs’ DTPA claims because the States lack

evidence of the required nexus to each Plaintiff State. See ECF No. 672 at 23-28. On January 9,

2025, the Court of Appeals for the Thirteenth District of Texas decided Google LLC v. State of

Texas, No. 13-23-00114-CV, 2025 WL 52611 (Ex. A). This decision dismissed a DTPA claim by

the Texas Attorney General against Google for lack of personal jurisdiction, rejecting theories of

nationwide misconduct similar to what the States assert here through some of the same counsel.

The decision confirms that allegations of nationwide conduct do not create an “appropriate nexus”

between Google and a particular state. Google therefore submits this decision as supplemental

authority in support of its summary judgment motion.

       In the now-dismissed case, Texas alleged that Google violated its DTPA by making

misrepresentations or omissions regarding its tracking of location history and private-browsing

history. After rejecting Texas’s argument for general jurisdiction over Google, the Court noted

that specific jurisdiction requires an “appropriate nexus between the nonresident defendant, the




                                                1
    Case 4:20-cv-00957-SDJ           Document 772 Filed 01/14/25           Page 2 of 5 PageID #:
                                              54866



litigation, and the forum.” 2025 WL 52611, at *5. 1 “The exercise of specific jurisdiction is

prohibited if the suit does not arise out of or relate to the defendant’s contacts with the forum.” Id.

“In other words, there must be an affiliation between the forum and the underlying controversy,

principally, an activity or an occurrence that takes place in the forum State and is therefore

subject to the State’s regulation.” Id. at *6. Where “events that took place outside of Texas would

consume most if not all of the litigation’s attention and the overwhelming majority of the evidence

would be directed at events outside of Texas, then the contacts are not sufficiently related to the

litigation’s operative facts.” Id. at *7.

        The Court readily found that those standards were not met. There, as here, the alleged

misrepresentations and omissions were made by Google’s “employees who were not in Texas.”

Id. As a result, “the principal complaint that the terms of service and disclosures made by appellant

were misleading requires that the overwhelming evidence be directed at events outside of Texas.”

Id. That Google’s website and software “are accessible nationwide” was not sufficient. Id. at *1.

A court should not “have jurisdiction over a nationwide corporation ... on any claim, no matter

how unrelated to the State or the corporation’s activities there.” Id. at *7 (quoting Ford Motor Co.

v. Montana Eighth Jud. Dist. Ct., 592 U.S. 351, 362 (2021) (emphasis original)). Because Texas’s

suit relied on “allegedly tortious conduct occurring outside of Texas,” the Court dismissed it for

lack of personal jurisdiction. Id.

        The standards governing whether a court may exercise personal jurisdiction over a

defendant are more lenient than those that constrain the extraterritorial application of state law, so

the State’s inability to meet the personal jurisdiction standards as to Google is dispositive here on




1
  Unless otherwise noted, all citations are omitted, all emphasis is added, and citations have been
cleaned up for ease of reading.
                                                  2
 Case 4:20-cv-00957-SDJ          Document 772 Filed 01/14/25              Page 3 of 5 PageID #:
                                          54867



the question of nexus and extraterritorial effect. In addition, both standards require the States to

show the existence of “an activity or an occurrence that takes place in the forum State and is

therefore subject to the State’s regulation.” Id. at *6; see also, e.g., Nat’l Pork Producers Council

v. Ross, 598 U.S. 356, 375 (2023) (noting that the Constitution limits a State’s regulatory powers

to “persons and property within the limits of its own territory”) (quoting Hoyt v. Sprague, 103 U.S.

613, 630 (1881)).

       In sum, this decision confirms two critical points. First, the relevant conduct for evaluating

state nexus in a DTPA suit is evidence that Google made allegedly misleading statements in the

State. The required nexus is not shown merely by evidence that users accessed Google’s website

or software in Texas. Google, 2025 WL 52611, at *7. The Plaintiff States cannot regulate Google’s

out-of-state conduct simply because its citizens viewed online advertisements, or even participated

in some in-state transactions using Google’s platform. Second, and more important, that Google’s

products and services are available anywhere does not subject it to suit everywhere. Id. For the

same reasons a nationwide corporation cannot be haled into every court in every state, a nationwide

corporation cannot be regulated and penalized under the laws of every state for the same conduct.

Yet that is precisely what Plaintiffs attempt to do here. See, e.g., FAC ¶ 728 (“Google’s conduct

was and is directed at consumers nationwide, including in Nevada[.]”). This action, like the Texas

state court action, must therefore be dismissed.




                                                   3
 Case 4:20-cv-00957-SDJ   Document 772 Filed 01/14/25      Page 4 of 5 PageID #:
                                   54868



Dated: January 14, 2025

                                         Respectfully submitted,

                                         /s/ Kathy D. Patrick
                                         Kathy D. Patrick
                                         State Bar No. 15581400
                                         KPatrick@gibbsbruns.com
                                         Gibbs & Bruns LLP
                                         1100 Louisiana, Suite 5300
                                         Houston, Texas 77002
                                         Tel.: (713) 650-8805
                                         Fax: (713) 750-0903

                                         Eric Mahr (pro hac vice)
                                         FRESHFIELDS US LLP
                                         700 13th Street, NW
                                         10th Floor
                                         Washington, DC 20005
                                         Telephone: (202) 777-4545
                                         Email: eric.mahr@freshfields.com

                                         Robert J. McCallum (pro hac vice)
                                         FRESHFIELDS US LLP
                                         3 World Trade Center
                                         175 Greenwich Street
                                         New York, NY 10007
                                         Telephone: (212) 284-4910
                                         Email: rob.mccallum@freshfields.com


                                         Attorneys for Defendant Google LLC




                                     4
 Case 4:20-cv-00957-SDJ        Document 772 Filed 01/14/25            Page 5 of 5 PageID #:
                                        54869



                               CERTIFICATE OF SERVICE

       I certify that on January 14, 2025, this document was filed electronically in compliance

with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

Local Rule CV-5(a)(3)(A).



                                                   /s/ Kathy D. Patrick
                                                   Kathy D. Patrick




                                              5
